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AO 91 (Rev. 08/09) Criminal Complaim

 

 

…/’ UNITED STATES DISTRICT CoURT
LR/ for the
Eastern District of Michigan
United States of America )
V- ) CaSeSZI 1 O-mj-30281
ROBERT JOHN MUELLER § Judge Unassigned,
) |i;lé)e§.EO7-O7-201 0 At 11105 A|Vl
) RT
Defena'anl(s) JOHN MUELLER (LCB)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 10/01/2008 through 07/06/2010 in the county of Macomb in the
Eagtem District of Michigan , the defendant(s) violated:
Code Section Ojj‘”ense Description
18 United States Code, Sections Manufacturing, distribution, receipt and/or possession of child pornogaphy.

2251(3), 2252A(a)(2) and 2252A(a)
(5)(\3)

This criminal complaint is based on these facts:
SEE ATTACHED AFF|DAV|T

if Continued on the attached sheet.

 

\»i Complainam § signalure\/

Rena|do Frank|in, Senior Specia| Aqent, DHS/|CE

Prl'nted name and title

Sworn to before me and signed in my presence.

Date; 07/07/2010 WMM;

Judge' s signature

City and state: Detroitj Michigan Mona K. Majzoub, United States Magistrate Judge

Prinled name and title

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
STATE OF MICHIGAN
:ss. AFFIDAVIT

COUNTY OF WAYNE

I, Renaldo Franklin, being duly sworn, depose and state:

l. I am a Special Agent with the Department of Homeland Secun'ty, U.S.
lmmigration and Customs Enforcement (ICE), Homeland Security lnvestigations (HSI),
in Detroit, Michigan. I have been employed as a Special Agent since Deccmber 2, 2002,
when l began my career as a Special Agent with United States lmmigration and
Naturalization Service, Office of Investigations, Detroit, Michigan. For approximately
five and a half years l have worked investigations that involve the illegal possession and
distribution of child pornography which occur in the Eastern District of Michigan. As of
the date of this affidavit I have been the case agent on over forty child Sexual exploitation
investigations including the receipt, distribution, manufacturing and possession of child
pornography images. I have interviewed multiple subjects who possessed, distributed,
manufactured and received child pornography images. l am responsible for enforcing
federal criminal statues along with other agents involving the sexual exploitation of
children pursuant to Title 18 United States Code, Sections 2251, 2252(a) and 2252A.

2. This criminal complaint is made in support of an application for a warrant to
arrest Robert .l. MUELLER (date of birth: XX/XX/ 1963), for evidence of violations of
Title 18, United States Code, Sections 2251(a), 2252A(a)(2) and 2252A(a)(5)(B) which

pertain to the illegal manufacturing, receipt, distribution and possession of child

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pornography.

3. Because this criminal complaint is being submitted for the limited purpose of
securing an arrest warrant I have not included each and every fact known to me
concerning this investigation I have set forth only those facts that l believe are necessary
to establish probable cause to believe that MUELLER has violated 18 U.S.C. §§ 2251(a),
2252A(a)(2) and 2252A(a)(5)(B).

4. As a result of the investigation described more fully below, there is probable
cause to believe that MUELLER has violated Title 18 U.S.C. 2251(a), 2252A(a)(2) and
2252A(a)(5)(B).

5. U.S. Irnmigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI), Office of the Special Agent in Charge, Detroit, MI (SAC Detroit)
received information from the Resident Agent in Charge, Milwaukee, Wl (RAC
Milwaukee), that an individual in Wisconsin [DOE], was receiving and distributing
images of child pornography via Google Hello, Bitwise (two peer-to-peer-file-sharing
programs) and a Russian based bulletin board/chat room.

6. RAC Milwaukee Special Agents conducted an investigation into DOE and on or
about 07/10/09, executed search Warrants at DOE’s residence and DOE’s father’s
business The search warrants found DOE in possession of images child pornography

7. DOE cooperated with RAC Milwaukee Special Agents and during a proffer
interview in the Fall of 2009 DOE indicated that he traded images of child pornography
with MUELLER who resides in Sterling Heights, Michigan. DOE indicated that
MUELLER offered DOE the opportunity to drive to Michigan and engage in sexual

intercourse with one of MUELLER’s minor daughters.

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8. During the interview with law enforcement, DOE also indicated that MUELLER
sent him child sexually explicit images of his minor daughters DOE retained these
images which were later found in DOE’s possession by RAC Milwaukee Special Agents
and other state/ local law enforcement

9. RAC Milwaukee forwarded this information to SAC Detroit. SAC Detroit Special
Agents conducted an investigation into MUELLER.

lO. On 07/06/10, SAC Detroit Senior Special Agent Renaldo Franklin (SSA
Franklin), received a DVD from RAC Milwaukee containing images seized from one of
DOE’S hard disk drives. A review identified a number of electronic storage files which
contained titles corresponding to the names of MV-l, MV-Z, MV-3 and MV-4. Some of
the folders also contained subfolders organized by the name and age of each of
MUELLER’S daughters and the dates on which the photos in each folder were produced.
The images in each folder correspond to the names, ages and images of the minor female
daughters of MUELLER as confirmed by current school yearbooks.

11. SSA Franklin observed a total of approximately one hundred (100) sexually
explicit images and images of child erotica sent by MUELLER to DOE, the subject of
which were his minor daughters MV-l, MV-3 and MV-4. The majority of the images
depicted MV-3 and MV-4. The images include an adult male, later identified as
MUELLER engaged in sexual touching and sexual intercourse with MV-4. MV-4 was
under age 12 at the time MUELLER took the photos.

12. On Tuesday 07/06/10, at approximately 6:50 P.M., ICE SAC Detroit Special
Agents executed a federal search warrant at MUELLER’S residence located at XXXXX

Villanova Drive, Sterling Heights, Michigan. MUELLER is a U.S. Citizen who is

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currently employed a maintenance sub contractor. The federal search warrant was for the
evidence of the violations of 18 U.S.C. § 2251(a), 2252A(a)(2) and 2252A(a)(5)(B),
which makes it a crime to manufacture, distribute and possess child pornography
Officers from the Sterling Heights Police Department assisted in the execution of the
search warrant.
13. MUELLER agreed to be interviewed by SAC Detroit Special Agents. During the
consensual interview MUELLER admitted to receiving, distributing and possessing child
pornography images via the internet. MUELLER also told agents that he used

* prescription sleep medication to drug MV-4 before videotaping, and photographing
himself sexually touching MV-4, having sexual intercourse with MV-4. MUELLER
admitted to taking sexually explicit pictures of MV-l and MV-3. MUELLER told law
enforcement that he distributing the aforementioned child sexual exploitation images over
the intemet to persons outside of the state of Michigan for a period of no less than two
years.
15. MUELLER also admitted to receiving and distributing sexually explicit images to
DOE and to offering MV-4 to DOE for sexual intercourse
16. MUELLER’S residence, Where his external hard disk drive was ilocated, is in the
Eastern District of Michigan. The manufacturing, distribution, receipt and possession of
child pornography and the sexual touching and intercourse with MV-4 occurred at

MUELLER’S residence in the Eastern District of Michigan.

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17. Based upon the foregoing, there is probable cause to believe MUELLER has
knowingly manufactured, received, distributed, and possessed, or attempted to
manufacture, receive, distribute, and possess, child pornography in violation of 18 U.S.C.
2251(a), 2252A(a)(2) and 2252A(a)(5)(B). Accordingly, this Affiant respectfully request

that this Court issue an arrest warrant

 

Renaldo Franklin,
Senior Special Agent, DHS/ICE

Subscribed and Sworn
Before me this 7th day of July 2010

flamm/wapa

MoNA K. MAJZoUB ’ ‘/
UNITED sTATEs MAGISTRATE JUDGE

